     Case 8:23-ap-01046-SC   Doc 204 Filed 09/21/23 Entered 09/21/23 13:34:13   Desc
                              Main Document    Page 1 of 13


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3    jbolling@epgrlawyers.com
     THANG LE (SBN 260248)
4    tle@epgrlawyers.com
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5    3200 Bristol Street, Suite 500
6    Costa Mesa, CA 92626
     Phone: (714) 292-0262
7    Fax: (714) 464-4770
8 Attorneys for Defendants
9
  Tony Diab and Daniel S. March

10                   UNITED STATES BANKRUPTCY COURT
11                    CENTRAL DISTRICT OF CALIFORNIA
12                               SANTA ANA DIVISION
13
     In re:                                  Case No.: 8:23-bk-10571-SC
14
   THE LITIGATION PRACTICE                   Hon. Scott C. Clarkson
15 GROUP, PC,
                                             Chapter 11
16
                                             Adversary No. 8:23-ap-01046-SC
17                     Debtor.
                                             DEFENDANT TONY DIAB AND
18                                           ENENSTEIN PHAM GLASS &
     RICHARD A. MARSHACK,                    RABBAT, LLP’S JOINT MOTION
19   Chapter 11 Trustee,                     FOR LEAVE TO WITHDRAW AS
                                             COUNSEL OF RECORD;
20                     Plaintiff,            DECLARATION OF TERI T.
                                             PHAM IN SUPPORT THEREOF
21            vs.
22   TONY DIAB, an individual; DANIEL
     S. MARCH, an individual; ROSA           [No hearing required pursuant to
23   BIANCA LOLI, an individual; LISA        LBR 9013-1(p)(4).]
     COHEN, an individual; WILLIAM
24   TAYLOR CARSS, an individual; ENG
     TAING, an individual; MARIA EEYA
25   TAN, an individual; JAKE AKERS, an
     individual; HAN TRINH, an
26   individual; JAYDE TRINH, an
     individual; JAYDE TRINH, an
27   individual; WES THOMAS, an
     individual; SCOTT JAMES EADIE, an
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                               MOTION TO WITHDRAW
     Case 8:23-ap-01046-SC   Doc 204 Filed 09/21/23 Entered 09/21/23 13:34:13   Desc
                              Main Document    Page 2 of 13

     individual; JIMMY CHHOR, an
1    individual, DONGLIANG JIANG, an
     individual; MAS CHOU, an individual;
2    OAKSTONE LAW GROUP PC;
     GREYSON LAW CENTER PC;
3    PHOENIX LAW, PC; MAVERICK
     MANAGEMENT GROUP, LLC; LGS
4    HOLDCO, LLC; CONSUMER
     LEGAL GROUP, P.C.; VULCAN
5    CONSULTING GROUP LLC; BAT
     INC. d/b/a COAST PROCESSING;
6    PRIME LOGIX, LLC; TERACEL
     BLOCKCHAIN FUND II LLC; EPPS;
7    EQUIPAY; AUTHORIZE.NET;
     WORLD GLOBAL; OPTIMUMBANK
8    HOLDINGS, INC. d/b/a OPTIMUM
     BANK; MARICH BEIN, LLC;
9    BANKUNITED, N.A.: REVOLVE3,
     INC.; FIDELITY NATIONAL
10   INFORMATION SERVICES, INC.
     d/b/a/ FIS; WORLDPAY, LLC;
11   WORLDPAY GROUP; MERIT
     FUND, LLC; GUARDIAN
12   PROCESSING, LLC; PAYLIANCE,
     LLC; TOUZI CAPITAL, LLC;
13   SEAMLESS CHEX INC.; DWOLLA,
     INC.; STRIPE, INC.; and DOES 1
14   through 100, inclusive,
15                    Defendants.
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                               MOTION TO WITHDRAW
     Case 8:23-ap-01046-SC    Doc 204 Filed 09/21/23 Entered 09/21/23 13:34:13         Desc
                               Main Document    Page 3 of 13


1                          Memorandum of Points and Authorities
2    I.    INTRODUCTION AND FACTS
3          Defendant Tony Diab and his counsel, Enenstein Pham Glass & Rabbat,
4    LLP (“EPGR”), respectfully request leave for EPGR to withdraw as counsel of
5    record. A material breach of the attorney-client representation agreement(s) has
6    occurred causing a breakdown in the attorney-client relationship, rendering
7    representation of the Mr. Diab impossible, thus requiring EPGR to cease
8    representing Mr. Diab.
9          Notice is hereby given, pursuant to Local Bankruptcy Rule (“LBR”) 2091-
10   1(c), that if this Motion is granted by the Court, Mr. Diab’s representation by
11   EPGR will end upon entry of the order granting this Motion. Mr. Diab, a formerly
12   licensed attorney, is aware of the implications and has consented to the withdrawal
13   having signed a Substitution of Attorney. (Declaration of Teri T. Pham (“Pham
14   Decl.”), ¶3, Ex. A [Sub. of Attorney].)
15   II.   LEGAL ARUGMENT
16         1.     Leave of the Court
17         Except as provided in LBR 2091-1(b), leave of the Court pursuant to LBR
18   9031-1(p) is required for any attorney who has appeared on behalf of an entity or
19   individual in any matter concerning the administration of the case, in one or more
20   proceedings, or both, to withdraw as counsel. In accordance with LBR 2091-
21   1(e)(1), the withdrawal of EPGR as counsel will not result in a delay or
22   continuance of any matter.
23         2.     Notice
24         Pursuant to LBR 2091-1(c)(1), Teri Pham and Jesse Bolling personally made
25   Mr. Diab aware of EPGR’s intent to withdraw as counsel over the course of
26   numerous emails and telephone calls. (Pham Decl. ¶2.)
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                                  MOTION TO WITHDRAW
     Case 8:23-ap-01046-SC    Doc 204 Filed 09/21/23 Entered 09/21/23 13:34:13          Desc
                               Main Document    Page 4 of 13


1           3.    Permission to Withdraw
2           Pursuant to Rule 1.16(b) of the California Rules of Professional Conduct,
3    any attorney may withdraw from a case if:
4                 (4) The client by other conduct renders it unreasonably
5                 difficult for the lawyer to carry out the representation
6                 effectively; (5) the client breaches a material term of an
7                 agreement with, or obligation, to the lawyer relating to
8                 the representation, and the lawyer has given the client
9                 reasonable warning after the breach that the lawyer will
10                withdraw unless the client fulfills the agreement or
11                performs the obligation; (6) the client knowingly and
12                freely assents to the termination of the representation.
13          As discussed in the accompanying Declaration of Teri Pham, there has been
14   a material breach of the parties’ agreement relating to representation making it
15   difficult for EPGR to continue to carry out representation, and the client has been
16   given warning, and knowingly assents to termination.
17          EPGR requests that all further notices, pleadings, process, and other papers
18   addressed to the Mr. Diab be served to the following address:
19                               Tony Diab, In Pro Per
20                               20101 SW Cypress Street
                                 Newport Beach, CA 92660
21                               Tel: (620) 474-0301
22                               tony@validationllc.com
23   III.   CONCLUSION
24          Based on the foregoing, Mr. Diab and Enenstein Pham Glass & Rabbat,
25   LLP, respectfully request that the Court issue an Order permitting EPGR to
26   withdraw as counsel for Mr. Diab, effective upon entry of the Order granting this
27   Motion.
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                                 MOTION TO WITHDRAW
     Case 8:23-ap-01046-SC   Doc 204 Filed 09/21/23 Entered 09/21/23 13:34:13   Desc
                              Main Document    Page 5 of 13


1    Dated: September 21, 2023     ENENSTEIN PHAM GLASS & RABBAT, LLP
2

3                                        By: _____________________________
                                               Teri T. Pham
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                                               Attorneys for Defendants Tony Diab
5                                              and Daniel S. March
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                               MOTION TO WITHDRAW
     Case 8:23-ap-01046-SC     Doc 204 Filed 09/21/23 Entered 09/21/23 13:34:13       Desc
                                Main Document    Page 6 of 13


1                          DECLARATION OF TERI T. PHAM
2          I, Teri T. Pham, declare as follows:
3          1.     I am an attorney licensed to practice law in the State of California and
4    I am a Partner with the law firm of Enenstein Pham Glass & Rabbat, LLP (“EPGR”),
5    counsel of record for Defendant Tony Diab in this matter. I submit this declaration
6    in support of Mr. Diab and EPGR’s Motion to Withdraw as Counsel of Record for
7    Mr. Diab. I am familiar with the record and all of the proceedings in this case, and
8    if called as a witness, I could and would competently testify thereto.
9          2.     Mr. Diab has failed to comply with a material term of EPGR’s
10   engagement agreement, making it difficult for EPGR to continue representation.
11   EPGR and Mr. Diab are willing to provide further details concerning the breach to
12   the Court in camera should the Court so require.
13         3. My colleague Jesse Bolling and I have notified and have spoken with Mr.
14   Diab regarding EPGR’s intent to withdraw as counsel of record in this matter. Mr.
15   Diab has indicated his understanding and consent. Mr. Diab himself was formerly a
16   licensed attorney. A true and correct copy of Mr. Diab’s signed Substitution of
17   Attorney is attached hereto as Exhibit A.
18         I declare under penalty of perjury under the laws of the State of California and
19   the United States that the foregoing is true and correct.
20         Executed on September 21, 2023 at Orange County, California.
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                                                   Teri T. Pham, Esq.
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                                 MOTION TO WITHDRAW
Case 8:23-ap-01046-SC   Doc 204 Filed 09/21/23 Entered 09/21/23 13:34:13   Desc
                         Main Document    Page 7 of 13




                           Exhibit A
        Case 8:23-ap-01046-SC              Doc 204 Filed 09/21/23 Entered 09/21/23 13:34:13                     Desc
                                            Main Document    Page 8 of 13




     tpham@epgrlawyers.com




              :


                                                                    -                        DIVISION


                                                                             8-23-bk-10571-SC
                                                                ADVERSARY NO.: 8:23-ap-01046-SC
                                                                (       )
                                                                CHAPTER: 11
                                                 Debtor(s).




                                                Plaintiff(s),
                                   vs.
                                                                                                   -1(b)]




                                              Defendant(s).

1.                (s)              (ies)                                 (specify)




2.                          ,                                            n    a             (specify):




3.        a                                                         th               case     t   a         proceeding


                        optional                     in

D                                                          Page 1                             F 2091-1.SUBSTITUTION.ATTY
Case 8:23-ap-01046-SC   Doc 204 Filed 09/21/23 Entered 09/21/23 13:34:13   Desc
                         Main Document    Page 9 of 13




                                                second


                                                   second


     third                                      fourth


            third                                  fourth




9/19/2023
        Case 8:23-ap-01046-SC                  Doc 204 Filed 09/21/23 Entered 09/21/23 13:34:13                                         Desc
                                               Main Document     Page 10 of 13



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:



A true and correct copy of the foregoing document entitled: SUBSTITUTION OF ATTORNEY will be served or was served
(a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
              , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date)                , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                  , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



 Date                         Printed Name                                                    Signature




          This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2014                                                         Page 3                                   F 2091-1.SUBSTITUTION.ATTY
        Case 8:23-ap-01046-SC                     Doc 204 Filed 09/21/23 Entered 09/21/23 13:34:13                                       Desc
                                                  Main Document     Page 11 of 13



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
3200 Bristol Street, Suite 500, Costa Mesa, CA 92626

                                                                      Defendant Tony Diab and Enenstein Pham Glass &
A true and correct copy of the foregoing document entitled (specify): __________________________________________
________________________________________________________________________________________________
Rabbat LLP's Joint Motion for Leave to Withdraw as Counsel of Record
________________________________________________________________________________________________
________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 Sept. 21, 2023 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
_______________,
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                       x Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On (date) _______________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
                                                                                                 Sept. 21, 2023 I served
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________,
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
  JUDGE'S COPY
  The Honorable Scott C. Clarkson
  U.S. Bankruptcy Court Ronald Raegan Federal Building
  411 W. Fourth Street, Suite 5130 / Courtroom 5C
  Santa Ana, CA 9270
                                                                                       x Service information continued on attached page
I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

Sept. 21, 2023                     Duc Le                                                        /s/ Duc Le
 Date                           Printed Name                                                    Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
Case 8:23-ap-01046-SC     Doc 204 Filed 09/21/23 Entered 09/21/23 13:34:13   Desc
                          Main Document     Page 12 of 13



Information for Case 8:23-ap-01046-SC


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

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      Andrew Still astill@swlaw.com, kcollins@swlaw.com
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Case 8:23-ap-01046-SC    Doc 204 Filed 09/21/23 Entered 09/21/23 13:34:13   Desc
                         Main Document     Page 13 of 13



      Johnny White     JWhite@wrslawyers.com, jlee@wrslawyers.com
